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                  Exhibit 7
  Declaration of Annatheia Smith
          (July 17, 2023)
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                 UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                                   BUTTE DIVISION

             THE IMPERIAL SOVEREIGN COURT
             OF THE STATE OF MONTANA; ADRIA
             JAWORT; RACHEL CORCORAN; THE
             MONTANA BOOK COMPANY; IMAGINE
             BREWING COMPANY, LLC d/b/a                           Cause No. CV 22-50-BU-
             IMAGINE NATION BREWING                                       BMM
             COMPANY; BUMBLEBEE AERIAL
             FITNESS; MONTANA PRIDE; THE
             WESTERN MONTANA COMMUNITY                                 Declaration of
             CENTER; THE GREAT FALLS LGBTQ+                           Annatheia Smith
             CENTER; THE ROXY THEATER; and
             THE MYRNA LOY,

                                                Plaintiffs,
                                vs.

               AUSTIN KNUDSEN; ELSIE ARNTZEN;
               J.P. GALLAGHER; and the CITY OF
               HELENA,

                                                Defendants.
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            I, Annatheia Smith, declare as follows:

            1.       I am over the age of eighteen years, am competent to testify as to

                     the matters set forth herein, and I make this declaration based

                     upon my personal knowledge and belief.

            2.       I am a resident of Missoula, Montana.

            3.       I am the president of The Imperial Sovereign Court of the State of

                     Montana (“the Imperial Court”), a domestic nonprofit corporation

                     founded in 1993 and headquartered in Missoula, Montana.

            4.       The Imperial Court is a membership organization. Individuals

                     must be 18 years old to become a member.

            5.       I am a member of the Imperial Court, performing as a drag queen

                     under the name “Diana Bourgeois.” I was named Empress 24 of

                     the State of Montana in 2019.

            6.       I am a cisgender female, a mother, grandmother, and a disabled

                     veteran who was honorably discharged.

            7.       The mission of the Imperial Court is to educate and advocate for

                     LGBTQ+ individuals and allies through the production of

                     community-based drag performances that explore multiple gender




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                     expressions in an entertaining and educational atmosphere and

                     create a safe and welcoming environment.

            8.       The Imperial Court is a prolific fundraiser, directing all net

                     proceeds from its events to enriching the community. The

                     Imperial Court has donated to the Bozeman Symphony, SAGA

                     schools, and other Montana nonprofit organizations.

            9.       Imperial Court events also raise funds for homeless shelters and

                     other community needs and the Imperial Court provides

                     numerous scholarships to LGBTQ+ and allied individuals across

                     the state.

            10.      Additionally, the Imperial Court supports the community by being

                     a safe space for conversation and gatherings. For example, after a

                     Neo-Nazi group attacked Bozeman Pride, causing injuries and

                     emotional trauma, we opened our doors, held debrief sessions, and

                     compiled a resource list for the community.

            11.      Imperial Court members are impactful educators, hosting

                     conversations and seminars on many important topics, including

                     consent, sober driving, gender identity, sexual orientation, and

                     acceptance. As with all the Imperial Court’s activities, these


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                     educational events are carefully curated to be age-appropriate for

                     each audience.

            12.      The Imperial Court’s drag performances are strictly tailored based

                     on age group, with some performances for adults-only and other

                     performances for all-ages. We take steps to ensure that minors do

                     not attend shows intended for our adult-only audiences.

            13.      The all-ages drag performances we put on are appropriate for

                     anybody. We do not perform burlesque-style drag or striptease.

                     Our performances are strictly power-lip syncing to uplifting songs.

            14.      The costumes for these all-ages performances are also age-

                     appropriate, with exhaustive guidelines outlining what is and is

                     not appropriate costuming for an all-ages show. Simply stated, if

                     a performer could not wear it into a kindergarten class, they

                     cannot wear it to an all-ages show.

            15.      Our drag performances necessarily include drag and flamboyant

                     costuming and may also include sexual content as defined by HB

                     359. For example, under HB 359, the use of prosthetic cleavage at

                     these events could be considered a “sexually oriented

                     performance.”


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            16.      The Imperial Court produces drag shows at small business and

                     public spaces across the state. Venues include public libraries,

                     bookstores, bars, public parks, museums, churches, comedy clubs,

                     schools, and even the Montana State Capitol building.

            17.      Many of these locations appear to be subject to the restrictions

                     imposed by HB 359, severely curtailing our ability to perform and

                     diminishing our reach.

            18.      Since HB 359 went into effect, we have had shows across the state

                     canceled, modified, and placed in limbo.

            19.      While we were able to perform at Bozeman Pride on May 19 to 21,

                     2023, before HB 359 became effective, a show at the Museum of

                     the Rockies originally scheduled for August 26, 2023, has been

                     repeatedly rescheduled, with no clear sign that it will be allowed

                     to happen at all.

            20.      A drag story hour event at Zoo Montana in Billings scheduled for

                     June 22, 2023, has been postponed indefinitely due to HB 359.

                     We successfully put on the same event at Zoo Montana just last

                     year.




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            21.      At Red Lodge Pride on June 2 and 3, 2023, we had to increase the

                     restrictions for our all-ages performances and modify costuming

                     due to concerns about HB 359’s penalties. We also hired police

                     officers for our performers' safety.

            22.      At Missoula Pride on June 17, 2023, event organizers modified our

                     scheduled slate of events due to HB 359—and did not advertise

                     the drag story hour event at all. As we did for Red Lodge Pride,

                     we modified elements of the all-ages show in response to concerns

                     about HB 359.

            23.      At Billings Pride on June 22 to 24, 2023, the drag story hour was

                     again not advertised by event organizers and we were unable to

                     perform any drag on public property.

            24.      At Anaconda Pride on June 30, 2023, in response to fears about

                     HB 359’s penalties, we changed our 16+ show to be adults-only.

                     Unfortunately, this limited the reach of our performance and did

                     not exercise the full community-building capacity our performance

                     could have had.




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            25.      At Butte Pride on July 1, 2023, we opted out of advertising our all-

                     ages drag show and followed our new restrictions on costuming

                     and performances due to HB 359.

            26.      At Libby Pride on July 8, 2023, we again did not advertise and

                     were forced to modify the performance due to fear of HB 359’s

                     penalties.

            27.      Our performances planned for Montana Pride in Helena, from

                     July 30 to August 6, 2023, are still uncertain. While we hope we

                     can participate in uplifting and building community in downtown

                     Helena, we anticipate that we will again follow our new, self-

                     imposed restrictions and may not advertise our events out of fear

                     of HB 359.

            28.      Across the state, our performers have been incredibly fearful of

                     legal action being taken against them under HB 359.

            29.      As President of the Imperial Court, I am unable to determine how

                     we can come into compliance with HB 359 while still serving our

                     mission, our members, and our audience.

            I declare under penalty of perjury that the foregoing is true and correct.

            DATED this 17th day of July, 2023, in Missoula, Montana.


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                                                             Annatheia Smith




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